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                                                       U.S. Department of Justice


                                                       United States Attorney
                                                       Eastern District of New York
 JJD                                                   271 Cadman Plaza East
 F. #2020R00632                                        Brooklyn, New York 11201



                                                       April 1, 2025

 TO BE FILED UNDER SEAL

 The Honorable Joan M. Azrack
 United States District Judge
 Eastern District of New York
 100 Federal Plaza
 Central Islip, New York 11722

                Re:     United States v. Vladimir Antonio Arevalo-Chavez
                        Criminal Docket No. 22-429 (JMA)

 Dear Judge Azrack:

                The government respectfully submits this motion requesting that the Court dismiss
 the above-captioned indictment against the defendant Vladimir Antonio Arevalo-Chavez (the
 “defendant” and “Arevalo-Chavez”) without prejudice, pursuant to Rule 48(a) of the Federal Rules
 of Criminal Procedure, because, as set forth below, the United States has determined that sensitive
 and important foreign policy considerations outweigh the government’s interest in pursuing the
 prosecution of the defendant, under the totality of the circumstances, and therefore require
 dismissal of the case. A proposed order of dismissal is attached hereto.

        I.      Background

                On September 22, 2022, a grand jury sitting in the Eastern District of New York
 returned the above-captioned indictment (the “Indictment”), charging the defendant and 12 other
 high-ranking leaders of La Mara Salvatrucha, also known as the “MS-13,” with: (1) RICO
 Conspiracy, in violation of 18 U.S.C. § 1962(d); (2) Conspiracy to Provide or Conceal Material
 Support to Terrorists, in violation of 18 U.S.C. § 2339A; and (3) Narco-Terrorism Conspiracy, in
 violation of 21 U.S.C. § 960a. An arrest warrant was issued for Arevalo-Chavez that same day,
 but he was a fugitive for more than five months, until he was arrested by the Federal Bureau of
 Investigation (FBI) and Homeland Security Investigations (HSI) in February 2023, when he
 arrived at George Bush Intercontinental Airport in Houston, Texas. Thereafter, he made an initial
 appearance in the Southern District of Texas and he was ordered to be removed in custody to the
 Eastern District of New York, where he is pending trial on the above charges.
               Due to geopolitical and national security concerns of the United States, and the
 sovereign authority of the Executive Branch in international affairs, the United States is dismissing
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 the indictment against the defendant without prejudice, so that El Salvador can proceed first with
 its criminal charges against the defendant under Salvadoran law.

        II.     Legal Standard

                 Rule 48(a) provides that “The government may, with leave of court, dismiss an
 indictment, information, or complaint.” Although the Rule requires leave of the court, the Second
 Circuit has explained that a “court is generally required to grant a prosecutor’s Rule 48(a) motion
 unless dismissal is ‘clearly contrary to manifest public interest.’” United States v. Pimentel, 932
 F.2d 1029, 1033 n.5 (2d Cir.1991) (quoting United States v. Cowan, 524 F.2d 504, 513 (5th
 Cir.1975)). The rationale behind this general rule is that the “Executive remains the absolute judge
 of whether a prosecution should be initiated and the first and presumptively the best judge of
 whether a pending prosecution should be terminated.” Cowan, 524 F.2d at 513. As the Supreme
 Court has stated, “[t]he principal object of the ‘leave of court’ requirement is apparently to protect
 a defendant against prosecutorial harassment, e.g., charging, dismissing, and recharging, when the
 Government moves to dismiss an indictment over the defendant’s objection . . . . But the Rule has
 also been held to permit the court to deny a Government dismissal motion to which the defendant
 has consented if the motion is prompted by considerations clearly contrary to the public interest.”
 Rinaldi v. United States, 434 U.S. 22, 30 n.15 (1977) (internal citation omitted). Although “the
 prosecution does not have the burden of proof to show that dismissal is in the public interest,”
 district courts have held that the government “is under a duty to provide sufficient reasons to the
 court that amount to more than a mere conclusory interest.” United States v. KPMG LLP, No. 05
 Cr. 903, 2007 WL 541956, at *5 (S.D.N.Y. Feb. 15, 2007). The standard to show a manifest public
 interest is limited to “extraordinary cases where it appears the prosecutor is motivated by
 considerations clearly contrary to the public interest” and the presumption is that the Government
 is acting in good faith. See id. at *5 (identifying as examples of contrary to the public interest
 when “the prosecutor appears motivated by bribery, animus towards the victim, or a desire to
 attend a social event rather than trial.”); -
                                             see
                                               --also
                                                  -- -United
                                                       - - - -States
                                                              -----  v.-Jacobo-Zavala,
                                                                         - - - - - - - - - 241 F.3d 1009,
 1012 (8th Cir.2001) (“[T]he presumption of regularity supports [the Government's] prosecutorial
 decisions and, in the absence of clear evidence to the contrary, courts presume that the[ ]
 [Government] ha[s] properly discharged [its] official duties.”); United States v. Salinas, 693 F.2d
 348, 351 (5th Cir.1982) (“Neither the trial court nor this Court on appeal can substitute its judgment
 for the prosecutor's determination [of the public interest] or can second guess the prosecutor's
 evaluation.”)).

                 Dismissal pursuant to Rule 48(a) is generally without prejudice. See United States
 v. Ortega-Alvarez, 506 F.2d 455, 458 (2d Cir. 1974) (per curiam) (“The rule is that when an
 indictment is dismissed before trial upon the government’s motion under Rule 48(a) of the Federal
 Rules of Criminal Procedure, the dismissal is without prejudice to the government’s right to
 reindict for the same offense, unless the contrary is expressly stated.”). Courts dismiss cases with
 prejudice only where the prosecutor acted in bad faith or where dismissal followed by recharge
 would amount to prosecutorial harassment. See United States v. Doody, No. 01 Cr. 1059, 2002
 WL 562644, at *2 (S.D.N.Y. Apr. 16, 2002). One court has noted that “no appellate court has
 upheld a denial of a motion to dismiss, where the defendant has consented to the dismissal,
 grounded on a finding of ‘bad faith’ or action ‘contrary to the public interest’ alone.” KPMG,
 2007 WL 541956, at *6.



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        III.    Motion to Dismiss

                 As the government has previously explained to the Court, the evidence in this case
 is strong; and the defendant was investigated, charged and has been prosecuted consistent with the
 appropriate principles of federal prosecution. See Justice Manual § 9-27.220.

                 Pursuant to Justice Manual § 9-2.159, substantial reasons of geopolitical, national
 security, foreign policy or related concerns may require the Department to abandon an
 investigation, forego litigation, or seek dismissal of a case. Accordingly, the government hereby
 moves to dismiss the pending charges against the defendant without prejudice, in order to permit
 the prosecution of the defendant to proceed in the first instance in El Salvador. See Justice Manual
 § 9-2.159 (“Situations may arise where substantial reasons of national security, foreign policy or
 the like may require the Department to abandon an investigation, forego litigation, or seek
 dismissal of a case.”).

        IV.     Conclusion and Sealing Request

               Accordingly, the government respectfully requests that the Court dismiss the
 indictment against the defendant without prejudice, pursuant to Federal Rule of Criminal
 Procedure 48(a).

                 Lastly, as directed by Department of Justice leadership, the government
 respectfully requests that this letter be kept under seal, given significant operational concerns,
 including the safety of the officers transferring the defendant and others. Further, public disclosure
 of this motion before the operation is complete could cause harm to the government’s relationship
 with a foreign ally. See United States v. Trabelsi, No. CR 06-89 (RWR), 2015 WL 5175882, at
 *8 (D.D.C. Sept. 3, 2015) (granting request to seal documents produced to defendant in part due
 to “the government's representations regarding the potential harm to the relationship between the
 United States and its foreign allies”); United States v. Amodeo, 71 F.3d 1044, 1050 (2d Cir. 1995)
 (sealing appropriate to protect law enforcement interests). The government respectfully submits
 that this request is narrowly tailored and appropriately balances the government’s compelling
 interests with the public’s qualified right to access this document. See United States v. Doe, 63
 F.3d 121, 128 (2d Cir. 1995); United States v. Haller, 837 F.2d 84, 87 (2d Cir. 1988). The
 government has conferred with counsel for the defendant, who consents to the filing of this motion
 under seal.

                                                         Respectfully submitted,


                                                   By:     /s/ John Durham
                                                         John J. Durham
                                                         United States Attorney
                                                         Eastern District of New York


 cc:    Louis M. Freeman, Esq. (by email)


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